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               UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF NEW YORK

GOOGLE LLC,

                 Plaintiff,

    v.                                Civil Action No.

DMITRY STAROVIKOV;                            REDACTED
ALEXANDER FILIPPOV;
and Does 1-15,

                 Defendants.




               DECLARATION OF SHANE HUNTLEY




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I, Shane Huntley, declare as follows:

      1.     I am the Director and Lead of Google’s Threat Analysis Group (“TAG”).

I submit this declaration in support of Google’s Application for an Emergency

Temporary Restraining Order and Order To Show Cause for a Preliminary

Injunction. I have personal knowledge of the matters discussed in this declaration,

and if called as a witness, I could and would testify competently to the matters

discussed in this declaration.

      2.     As the Director and Lead of TAG, I evaluate cybersecurity threats to

Google products and services, including Google Search, Gmail, YouTube, Chrome,

Google Ads, Google Drive, and Google Maps, as well as the risks to Google and its

billions of users posed by those threats. I am responsible for protecting Google users,

products, services, platforms, and assets from serious cyberattacks, including botnet

attacks. I have worked at Google for over 11 years, starting as a Security Software

Engineer for TAG in 2010, and worked in that group until I became Director in

November 2017. I have been in my current position for four years. While at Google,

I have participated in and directed botnet investigations and disruptions.

      3.     Before joining Google, I worked for over five years as a security software

engineer for the Australian Government, and for two years as a computer security

research scientist for the Defense Science and Technology Organization. I obtained

a bachelor’s degree in engineering from the University of New South Wales.

      4.     Under my direction, TAG has investigated the structure and function of

a botnet called “Glupteba.” TAG has assessed the activities of this botnet and the



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impact it has on Google and Google users. Our investigation has determined that the

Glupteba botnet currently involves approximately one million compromised devices

worldwide. We estimate that, in September 2021, the botnet was growing at a rate

of thousands of new infections per day. We also estimate that the botnet has led to

thousands of compromised Google and social media accounts. We have concluded

that the Glupteba botnet has caused significant damage to Google and other parties,

and that it is a powerful vector for more serious harm if it is permitted to operate

unimpeded.

I.    Google Products and Background

      5.        Google is recognized as a worldwide leader in technology. Cutting-edge

innovation and development drove the company’s growth. We maintain our position

at the forefront of multiple sectors through a sustained commitment to offering

products that are both dependable and advanced. Google has pioneered technologies

used by millions of people including Android, Chrome, Gmail, Google Drive, Google

Maps, Google Photos, Google Play, Search, and YouTube:

           a.   Android: Android is an operating system that is designed to run on

                mobile devices, such as smartphones or tablets.    Android generates

                revenue in part through advertising on the platform.

           b.   Chrome: Chrome is a web browser that runs on various operating

                systems, including on personal computers, smartphones, and tablets.

           c.   Google Cloud: Google Cloud is a suite of cloud services including

                computing, data storage and analytics, and machine learning.



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           d.   Gmail: Gmail is an email service that is hosted on Google’s servers.

           e.   Google Drive: Google Drive is a file storage service that allows users

                to host and share files in various formats on Google’s servers. These

                files can be created, accessed, and edited remotely.

           f.   Google Search: Google Search is an internet-based search engine that

                allows users to search for publicly accessible documents and websites

                indexed by Google’s servers.

           g.   Google Workspace:        Google Workspace is a cloud-based suite of

                productivity and collaboration tools for businesses.      This service

                provides businesses with custom email accounts with integrated

                collaboration tools, including Gmail, Google Calendar, Google Meet,

                Google Chat, Google Drive, Google Docs, Google Sheets, Google Slides,

                Google Forms, and Google Sites.

           h. YouTube: YouTube is an online video sharing platform.

           i.   Google Ads: Google Ads is an online advertising platform through

                which advertisers can publish advertisements on various Google

                platforms including, for example, Google Search and YouTube.

II.   Google’s Commitment to Cybersecurity

      6.        For the past two decades, Google has made security the cornerstone of

our business. Our commitment to security begins with our product strategy. The

company does not simply respond to security incidents or plug security holes.

Instead, Google works to eliminate entire classes of threats for users and businesses



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whose work depends on our services. We strive to keep our users safe by making our

products secure by default—by using progressive layers of both digital and physical

protection to block malware, phishing attempts, spam messages, and cyberattacks,

and by employing the best engineers in the world.

      7.     Google dedicates significant resources to privacy and security incident

response to mitigate cyberattacks. We also invest substantial resources in safety,

security, and content review efforts to combat misuse of Google’s services and

unauthorized access to user data by third parties.             These efforts include

investigations and reviews of platform applications that could access the information

of users of our services.

      8.     Google also has dedicated resources to thwarting attacks that result

from the operation of botnets. For example, Google’s “Project Shield” is a free service

that protects websites from distributed denial of service (“DDoS”) attacks, which often

are perpetrated by botnets.1 Similarly, Google Cloud Armor Adaptive Protection

helps protect Google Cloud applications, websites, and services against DDoS attacks

such as HTTP floods and other high-frequency application-level malicious activity.2

      9.     Because the cyber threat landscape is constantly evolving, Google has

also devoted significant resources to detecting potential cybersecurity threats, rapidly




1 Charlie Osborne, Google Pulls Krebs on Security Out of the Abyss, ZDNet (Sept. 25,

2016), https://www.zdnet.com/article/google-rescues-krebs-on-security-from-the-
abyss.
2 Google Cloud Armor Adaptive Protection Overview, Google Cloud,

https://cloud.google.com/armor/docs/adaptive-protection-overview (last visited Nov.
16, 2021).

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countering them, and informing the broader information security community about

them. We have published over 160 academic research papers on computer security,

privacy, and abuse prevention, and we warn other software companies of weaknesses

in their systems.

      10.    TAG is central to that effort. TAG tracks more than 270 targeted or

government-backed attacker groups from more than fifty countries and hundreds of

financially motivated actors. It is among the world’s most sophisticated cyber threat

analysis teams, and combines threat intelligence, malware analysis, and engineering

of large-scale malware and threat-analysis systems to defend our services,

infrastructure, and users from advanced disinformation campaigns, hacking,

financially motivated abuse, and other cyber threats.

      11.    TAG also analyzes hacking techniques and other clues to the groups’

identities to thwart attacks. To track and investigate cybersecurity threats, TAG

leverages data across widely used Google products, including VirusTotal, a database

of malicious code. As part of its efforts, TAG regularly works with law enforcement

agencies, national security entities, and private-sector cybersecurity partners across

the world.

      12.    These investigations have succeeded in neutralizing major cybersecurity

threats, including foreign nation-state disinformation and threat actors who targeted

or impersonated health organizations during the COVID-19 pandemic. For example,

in early 2021, TAG disrupted efforts by APT35, an advanced persistent threat actor

backed by Iran and known to have targeted campaign staffers during the United



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States’ 2020 elections.3   TAG also has a proven track record in identifying and

disrupting campaigns utilizing previously unidentified zero-day exploits, such as

when it identified and disrupted an attack against targets in Armenia.4 TAG sends

Google users warnings when they are targeted by nation-state actors; so far in 2021,

TAG has sent over 50,000 warnings to users, a nearly 33% increase from this time in

2020.

III.    The Glupteba Botnet

        13.   A botnet is a network of devices connected to the internet that have been

infected with a type of malicious software (or “malware”) that places them under the

control of persons who can then use the infected devices for malicious purposes, such

as to commit fraud or engage in disinformation campaigns. The “bot controllers” who

operate the botnet typically do so through a “command and control” server (the “C2

server”). The C2 server sends instructions to the bots on the infected devices, which

in turn carry out those instructions.

        14.   Some of the largest botnets have conscripted millions of devices, often

unbeknownst to their owners. As a result, a botnet can marshal an astonishing

amount of computing power in service of a wide variety of illegal activities, including

attacking other devices, installing other forms of malicious software, performing

DDoS attacks, stealing credentials or financial information, selling or renting access


3 Ajax Bash, Countering Threats from Iran, Google (Oct. 14, 2021),

https://blog.google/threat-analysis-group/countering-threats-iran/.
4 Maddie Stone & Clement Lecigne, How We Protect Users from 0-Day Attacks,

Google (July 14, 2021), https://blog.google/threat-analysis-group/how-we-protect-
users-0-day-attacks/.

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to the infected devices to other cybercriminals, mining cryptocurrency, sending spam,

and distributing ransomware.

      15.     One malware family—called “Glupteba”—has several different variants

that cybersecurity researchers have observed for at least a decade.

      16.     In recent years, and beginning no later than 2019, cybercriminals

(referred to herein as the “Glupteba Enterprise” or the “Enterprise”) have weaponized

the Glupteba malware to support a massive and sophisticated botnet (the “Glupteba

botnet”) that can be tailored to serve numerous criminal purposes, including user

credential or data theft and hijacking devices to mine cryptocurrency.

      17.     The Glupteba botnet uses numerous domains to disseminate malware,

most of which are registered with different registrars using a variety of Gmail

accounts. Once infected with the malware, a device becomes part of the Glupteba

botnet.

      18.     I estimate that TAG has spent more than 2,000 engineering hours

combatting the Glupteba botnet to protect Google users and others. This does not

include the other security teams at Google who also have worked to combat the

Glupteba Enterprise’s harms against our users.

      19.     TAG took several steps to investigate and contain the Glupteba botnet.

As part of Google’s investigation into the Glupteba botnet, for instance, TAG analyzed

numerous samples of Glupteba malware, and reverse-engineered and examined its




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code in order to identify hard-coded domains.5      Our investigation also involved

intentionally infecting devices in order to understand how infected machines are

affected, damaged, and controlled by the Glupteba botnet. Using that analysis, we

monitored each infected device’s internet traffic and activity to determine how it

downloads other malware components, how it communicates with other Glupteba-

infected devices, and with which other devices it communicates. In other words, we

sought to understand how a device in the botnet is used by the botnet and controlled

by the Enterprise. To protect Google users and infrastructure, we took steps to detect

and track malicious activity over time.

      20.    My conclusions concerning the Glupteba botnet’s activity and

capabilities are based on TAG’s investigation and observations.

      21.    Google observed the delivery of Glupteba malware in the summer of

2020 on numerous sites for downloading software or videos or streaming movies.

Those sites often advertised “free downloads” for the purpose of infecting devices and

recruiting them to the Glupteba botnet.

      22.    Glupteba malware conceals itself as free downloadable software that

tricks users into inadvertently infecting their device with the malware. For example,

users that attempt to download a free game will unknowingly be redirected to servers

hosting Glupteba malware code, resulting in the download and installation of the

malware.


5 TAG’s investigation included analysis of the Glupteba binary file, which is the

executable program code that contains instructions for the malware to run in a
device.

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      23.    The Glupteba Enterprise has leveraged Google’s well-known marks to

facilitate malware distribution.   For instance, at the website located at “video-

youtube-get.ru,” users are deceived into believing they are downloading a YouTube

video, and instead, the user unknowingly downloads and installs Glupteba malware.

Below is a true and correct image of an excerpt from the website, with a screenshot

of a Glupteba malware download masquerading as a YouTube video:




      24.    When the unsuspecting victim clicks on the link, the malware is

delivered via “droppers.” Droppers are an electronic Trojan horse. They appear as

legitimate applications to the user, but once downloaded, they deliver malware to the

user’s device.




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      25.      Once installed on a device, Glupteba malware evades being detected by

the device’s owner and its antivirus software. It manipulates the device’s operating

system by hiding the malware’s existence and preventing it from showing up on an

infected device’s security logs. It can avoid cybersecurity detection tools, anti-virus

software, and system monitoring programs, including security software featured in

popular operating systems. Glupteba malware not only evades detection once it is

installed, but it also spreads to other devices on the same network as the infected

device.

      26.      The Glupteba malware that is installed on infected devices is software

consisting of computer coding. Contained within that coding, or “hard-coded” in the

malware, are various domain names6 that direct the botnet to servers—C2 servers

and content delivery network (“CDN”) servers—that provide instructions and

updates to the botnet. The domain names that are hard-coded in the malware can be

refreshed through backdoor functions7 or querying the blockchain, explained infra at

paragraphs 33 to 42.

      27.      Through our investigation, Google identified numerous domains and IP

addresses used as part of this infrastructure. The known domains and IP addresses

are listed in Appendix A.8        The IP addresses where some of the Glupteba




6 The domain name is a “pointer” to an IP address where a server is hosted.
7 Backdoor functions are covert methods of bypassing normal authentication or

encryption in an internet-connected device.
8 Appendix A includes domains used for C2 and CDN server communication and

operation, as well as domains used for distribution of the Glupteba malware and
domains used for the Enterprise’s criminal schemes.

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infrastructure is hosted belong to a German web hosting provider. Google also has

identified relevant “nameservers,” which are server components that translate

domain names into IP addresses. The relevant nameservers belong to a U.S. web

infrastructure company.

      28.     Once installed, Glupteba malware utilizes numerous modules (which

are downloaded through the CDN servers) to undertake its activities.

      29.     In the course of its investigation, TAG performed manual malware

analysis on 36 different modules. The modules are compiled programs that use

multiple programming languages including Go and C++. During its investigation,

TAG performed manual malware analysis on 36 different modules.

      30.     The program responsible for installing the Glupteba malware modules

uses various mechanisms to avoid being detected by security products or automated

analysis tools. TAG calls this program the main dropper. This dropper can check for

the presence of installed antivirus programs, add firewall rules to let its

communication through, and shut down Microsoft’s native security program,

Windows Defender. The main dropper also has capabilities to detect tools often used

by malware analysts, including Sysinternal tools, a suite of free administrative

programs offered by Microsoft.

      31.     My team is aware of the following types of modules that are installed as

part of the Glupteba malware and botnet:

            a. Modules that scan for certain known vulnerabilities on the local

              network’s hardware and software and then exploit those vulnerabilities



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      using variants of EternalBlue (a computer virus) to distribute itself

      across the local network.

  b. Modules that attempt to gain access to the local network by trying to log

      in to the secure shell (“SSH”).

  c. Modules that steal Google Chrome browser data, including cookies,

      credentials and passwords, and attempt to install a Google Chrome

      browser extension.

       i.    The module responsible for stealing Chrome data is written in Go.

             It reads the user data from an infected system’s drive and uploads

             it to a C2 server using the HTTP protocol.

 d.   Modules that deploy proxies onto the infected machine so that it can be

      remotely directed by the bot controllers.

        i.   The proxy deployment module is written using the C++

             programming language. The proxy program registers to its server

             using the HTTP protocol and can afterward be used to proxy

             traffic coming from the established tunnel.

       ii.   Another proxy module written in Go deploys a peer-to-peer

             connection for proxying.

 e.   Modules that scan a device’s network to exploit routers (e.g., MicroTik

      routers) so that they can be used to proxy malicious traffic without the

      router owner’s knowledge.




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         f.   Modules that mine cryptocurrency using the infected device’s processing

              power and electricity source.

      32.     Once the modules are downloaded to the infected device via the CDN

server, the C2 server then commands the infected device to use the modules. For

example, the C2 server could activate the module that steals the device’s account

credentials or the module that mines Bitcoin, depending on the Glupteba Enterprise’s

plans for the infected device.

IV.   The Glupteba Botnet Exploits Blockchain Technology

      33.     TAG’s analysis of Glupteba malware indicates that the Glupteba botnet

uses blockchain to protect the bot controller’s ability to issue commands to the

infected devices.

      34.     In the classic botnet structure, the botnet can no longer function when

the bot controller’s C2 server is shut down because the C2 server cannot communicate

instructions to the botnet. To avoid this predicament and protect their botnets, bot

controllers have developed numerous techniques to protect or quickly change their

C2 servers. A common method is to simultaneously use many domains as C2 servers,

such that the disruption of a single C2 server will not disrupt the botnet’s operations.

      35.     The Glupteba botnet innovates beyond these techniques and uses a

method incorporating blockchain technology. The Glupteba botnet’s use of blockchain

makes it particularly difficult to disrupt by reducing its reliance on pre-determined

domains.




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      36.       Blockchains are decentralized databases spread over a network of

participants that are often used to record cryptocurrency transactions. A person

seeking to transact using cryptocurrency will do so on the blockchain through a

digital “wallet”; that transaction will be recorded in the blockchain, leaving a public

record.    Wallets store the public and private “keys” used to send and receive

cryptocurrency. A public key, or “address,” is akin to a bank account number, and a

private key is akin to a PIN or password that allows a user to access and transfer

value associated with the public address.

      37.       The Glupteba botnet uses the blockchain to protect itself against

disruption through coding in the Glupteba malware that instructs infected devices to

look to specific addresses in wallets on the blockchain to identify the next C2 server

when the botnet is not able to communicate with the original (or last-functioning) C2

server.

      38.       When an infected device is unable to communicate with the C2 server,

Glupteba malware instructs the device to query the public blockchain for three

Bitcoin addresses:

           a.   15y7dskU5TqNHXRtu5wzBpXdY5mT4RZNC6

           b.   1CgPCp3E9399ZFodMnTSSvaf5TpGiym2N1

           c.   1CUhaTe3AiP9Tdr4B6wedoe9vNsymLiD97

      39.       These Bitcoin addresses are controlled by the cybercriminals behind the

Glupteba botnet. The malware queries these addresses using the publicly accessible

blockchain.



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      40.    The cybercriminals behind the Glupteba botnet periodically make small

Bitcoin transactions from these addresses. When they do so, they input an encrypted

code in a field in the Bitcoin blockchain typically used for notes or messages, akin to

the “memo” line of a check, or the payment note in a digital payment application like

Google Pay (e.g., “for groceries”). When decrypted, this code contains the address of

a back-up C2 server. The information is either sent as a standalone, valueless data

transmission, or it accompanies a transaction in which funds are exchanged.

      41.    The 256-bit AES decryption key is embedded in the Glupteba malware,

so the infected devices that comprise the Glupteba botnet can read the encrypted

messages associated with the Bitcoin transactions and identify the back-up C2 server.

      42.    Accordingly, if a C2 server is taken offline, the Glupteba botnet can

locate a replacement C2 server by querying the public blockchain, identifying

transactions that involve Bitcoin addresses operated by the bot controllers, and then

decrypting the identity of the next C2 server.

V.    Criminal Schemes Perpetrated by the Glupteba Botnet

      43.    TAG’s investigation into the Glupteba botnet revealed various criminal

schemes carried out by the Glupteba Enterprise, which consists of several individuals

and corporations. The Enterprise operates and uses the botnet to carry out criminal

schemes and to further the criminal schemes of others.

      44.    As described below, the Enterprise uses the botnet to effect at least five

criminal schemes: (1) the Stolen Accounts Scheme, (2) the Credit Card Fraud Scheme,




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(3) the Disruptive Ad Scheme, (4) the Proxy Scheme, and (5) the Cryptojacking

Scheme.

                             Stolen Accounts Scheme

      45.     The Glupteba malware steals login credentials and login cookies for a

range of accounts, including Google and other accounts, from infected devices. With

this information, the Glupteba Enterprise has the capacity to log in to the user’s

account as though it is the user. The Enterprise loads these hijacked accounts onto

open browsers operating on virtual machines. A virtual machine is similar to a

physical computer; however, the operating system of the virtual machine is contained

within another computing environment, typically on a cloud computing platform.

Like typical computers, the Enterprise’s virtual machines have a web browser. In

the open browser, the Glupteba Enterprise enters the username and password for a

Google account (or other account) that Glupteba malware has stolen. The Enterprise

then sells access to the stolen account through a website that it operates, Dont.farm,

thereby enabling cybercriminals and other customers the ability to exploit the stolen

account.9 Once granted access to the virtual machine, the Dont.farm customer has

free rein to use the hijacked account as desired, including to launch fraudulent ad

campaigns.

      46.    Dont.farm confesses publicly that it is selling access to other people’s

accounts, as the website is a storefront for the sale of such access. Below are true and




9 See Exhibit 1, which is a true and correct copy of the webpage Dont.farm as of

November 3, 2021.

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      51.    TAG estimates that since its creation in 2019, Dont.farm has sold access

to hundreds of thousands of stolen accounts for Google and other services.13

Dont.farm states that it has been in operation since 2019 and has over 200

employees.14 Dont.farm advertises that customers can use it to obtain access to

“accounts of any country in the world.”15

      52.    Customers of Dont.farm who pay for access to a stolen account obtain

not only access to the stolen account, but also a veil of secrecy provided by a proxy.

Specifically, their activity appears to third parties (such as Google) as though it is

emanating from the location of the virtual machine, or potentially from the location

of a different infected device that is being used in connection with the Proxy Scheme,

discussed below. The true location of the customer of Dont.farm is hidden.

      53.    Dont.farm provides criminals with the opportunity to engage in

commercialized ad fraud. They often use this form of ad fraud to phish credentials,

such as financial information or other personal information, from buyers. These

stolen accounts are potential platforms for many other fraudulent schemes as well.

      54.    Collectively, it is clear to both the operators of Dont.farm, as well as the

users of Dont.farm, that the use of the provided Google and other accounts is

illegitimate, and that Dont.farm is a service designed to perpetrate fraud.




13 See Exhibit 4, which is a true and correct copy of the webpage

https://dont.farm/technical as of November 22, 2021.
14 See Exhibit 1.
15 See Exhibit 2.


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      55.     With regard to the Stolen Accounts Scheme, Google specifically found

the following through its investigation:

         a.   Google identified                  @gmail.com as an account being sold by

              Dont.farm. This Gmail account was created in 2016. It did not initiate

              use of Google Ads until five years later, on April 21, 2021. On that same

              day, the account was logged into after four failed password attempts

              from an IP address in Germany, a location atypical of prior account

              logins. The very next day, on April 22, 2021, the account had logins from

              IP addresses tied to the United States and Iran. Review of these logins

              showed they occurred from a variety of device and browser types. In

              addition, a review of the Gmail settings on the account indicated it had

              established a filter to send all emails from google[.]com to trash,

              consistent with the aforementioned instructions from Dont.farm.

         b.   Google identified                    @gmail.com as an account being sold

              by Dont.farm. This Gmail account was created in 2018. It did not

              initiate use of Google Ads until three years later, on March 30, 2021. On

              that same day, the account was logged into from a new device. Google’s

              review determined that the Gmail settings on the account indicated it

              had   established   filters   to   send   all   emails   from   ads-account-

              noreply@google[.]com and from google[.]com to trash.            Additionally,

              Google observed a series of failed login attempts for this account in early

              July 2021 from IP addresses associated with numerous countries, such



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              as Vietnam, Italy, Brazil, Ecuador, Iraq, Czechia, Bangladesh, and the

              United States.

         c.   Google identified                     @gmail.com as an account being sold

              by Dont.farm. This Gmail account was created in 2019. It did not

              initiate use of Google Ads until two years later, on March 24, 2021. On

              that same day, the account was logged into from a Windows device in

              the United Kingdom, a device and location atypical of other logins,

              including another login that occurred that same day. Gmail settings on

              the account indicated it had established filters to send all emails from

              ads-account-noreply@google[.]com and google[.]com to trash.

                             Credit Card Fraud Scheme

       56.    The Enterprise operates Extracard.net, a payment fraud service that

enables cybercriminals and others to purchase ads from Google Ads that are provided,

but not paid for.16

       57.    Extracard.net provides access to credit card numbers that are emitted

from a Russian bank. Malicious actors use these credit card numbers to make

purchases without paying and to mask their identities. “Clients” of Extracard.net

only pay a fraction of the credit card bill.

       58.    A review of Google Ads accounts identified hundreds of Google Ads

customers who abused Google’s Ad platform through the use of Extracard.net credit




16 See Exhibit 5, which is a true and correct copy of the webpage

https://extracard.net as of November 2, 2021.

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cards. A review of the ad campaigns operated by these customers indicated they were

often serving malicious or fraudulent ads and thereby harming other Google users.

      59.   Google provides Google Ads account holders with an advance credit for

ad campaigns when an account holder places a credit card on file with the account.

The account holder can spend up to the credit amount (within 30 days) before Google

charges the credit card on file. When account holders place legitimate credit cards

on file, Google can collect the charges when it runs the credit card. When Google

seeks to charge credit cards issued by Extracard.net, in contrast, the full charged

amount is not paid. By taking advantage of the advance credit system, customers of

Google Ads with Extracard.net credit cards on file have been able to “purchase” ad

campaigns and execute those ad campaigns without paying, causing monetary loss to

Google.

      60.   The Enterprise uses the Credit Card Fraud Scheme and the Stolen

Accounts Scheme in tandem, marketing Extracard.net-issued credit cards to

customers of Dont.farm. Below is a true and correct copy of an online advertisement,

dated April 22, 2021, marketing Extrcard.net credit cards to users of Dont.farm:




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      devices. Upon review, the Ads accounts were found to be running ads

      which redirected to a cryptocurrency investment scam. Moreover, a

      review of            @gmail.com indicated it had logins from IP addresses

      associated with AWMProxy.net.

 b.   The         Google         Ads       account       associated       with

                              @gmail.com signed up for Google AdWords using

      a credit card consistent with credit cards from Extracard.net. The Ads

      account was suspended for payment fraud because it ran ads worth

      $410.89 Australian Dollars in mid-September 2021, for which Google

      never received payment. This account was created just two weeks before

      it began using Google AdWords and it used VPN IP addresses for logging

      in, suggesting that the user purposefully masked its identity and likely

      created the account in order to undertake fraudulent ad activity using

      the Extracard.net credit card.

 c.   The Google Ads account associated with                       @gmail.com

      signed up for Google AdWords using a credit card consistent with credit

      cards from Extracard.net. The account was suspended for payment

      fraud because it ran ads worth approximately 2800 EUR between June

      4, 2021 and June 18, 2021, for which Google was only partially paid.




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                             Disruptive Ads Scheme

      62.    The Glupteba Enterprise uses Push.farm, and it previously used

Trafspin.com, to place disruptive ads on infected mobile devices.17 The disruptive ads

pop up on the infected device, interrupting and interfering with the user’s normal use

of that device.

      63.    When a mobile device is infected with the malware, the Enterprise is

able to push web and in-app advertisements to the infected device. This allows the

Enterprise to profit by selling advertising space to advertisers, and then by pushing

those advertisements to the infected devices.

      64.    Trafspin.com does not appear to be live. However, there is evidence that

the Enterprise is shifting to use a new site, Push.farm, to sell the placement of

disruptive ads on mobile devices.

                                    Proxy Scheme

      65.    The Glupteba Enterprise uses AWMProxy.net18, and formerly used

Abm.net, to rent out IP addresses belonging to devices infected by the Glupteba


17 See Exhibit 6, which is a true and correct copy of the webpage https://push.farm

as of November 2, 2021, and Exhibit 7, which is a true and correct copy of the
webpage https://trafspin.com as archived by the WayBack Machine on March 2,
2021.
18 See Exhibit 8, which is a true and correct copy of the webpage

https://www.awmproxy.net as of November 2, 2021. On November 23, 2021,
AWMProxy.net was rebranded as Vd.net. A blog post on the same day claimed new
ownership. See The Project Has a New Domain and New Owners!, Vd.net (Nov. 23,
2021), https://vd.net/news/the-project-has-a-new-domain-and-new-owners.html
(“Dear friends! We are glad to inform you that our project has been sold to new
owners. In this regard, we expect new positive changes and you can already see the
first one of them - we have a new website address! We are sure that the new team


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malware.19 Cybercriminals and other customers pay the Glupteba Enterprise for the

ability to use the infected devices’ IP addresses to “proxy” or relay their internet

activity to disguise their identity and location without any knowledge or consent by

the users of the infected devices.

      66.    When a cybercriminal uses the location of an infected device as a proxy,

the cybercriminal’s requests (e.g., his or her activity on the internet) will appear to be

emanating from the location of the infected device, rather than the proxy user’s true

location. The use of proxies thereby enables cybercriminals to hide their tracks, avoid

detection, and frustrate surveillance systems designed to detect and prevent activity

from addresses believed to be associated with criminal and fraudulent activity.

      67.    Security systems that screen for suspicious IP addresses are less likely

to detect a cybercriminal’s activity if that criminal is using a proxy. The requests

may not raise red flags or be detected by surveillance screens because they are relayed

through the victims’ devices. Similarly, the proxy activity helps mask cybercriminals’

whereabouts and activity from law enforcement investigations.

      68.    AWMProxy.net claims on its website that it could provide over 10,000

proxies per month for $190, and over 200,000 per month for $690.20 In addition, it

touts that the proxies it sold have “frequent IP changes,” and that it refreshed 3% of




will breathe new life into the project!”). See Exhibit 9, which is a true and correct
copy of the webpage https://www.vd.net as of November 24, 2021.
19 See Exhibit 10, which is a true and correct copy of the webpage https://abm.net as

archived by the WayBack Machine on February 11, 2021.
20 See Exhibit 8.


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its proxies every 15 minutes.21 An analysis of the IP addresses used by Dont.farm

and AWMProxy.net indicate they use many common IP addresses, supporting the

connection between the two schemes.

         69.   Abm.net’s website offered a “wide selection of geopositions” and

internet-service providers, permitting users to choose the country and city of the

proxy they purchase.

         70.   Abm.net claimed that its proxy servers were compatible with Google,

Gmail, YouTube, and other platforms.

         71.   In addition to being used to set up fraudulent Google accounts, proxies

can be used to facilitate fraudulent or other improper online ad campaigns. That is,

because the user of a proxy like AWMProxy.net can spread a large purchase of

advertisements across multiple proxy IP addresses, the user can execute the

advertising campaign while avoiding algorithms intended to detect improper ad

campaigns and block the user’s accounts. In other words, the proxies enable users to

purchase ads as if the purchases came from many different (and valid) Google

accounts, unbeknownst to the true holders of these Google accounts.

         72.   Proxy services such as AWMProxy.net and Abm.net attempt to hinder

investigations by Google security teams such as TAG. IP addresses are a common

factor used in identifying harmful activity, and by relaying efforts through residential

proxies, bad actors are more likely to avoid detection and successfully undertake




21 Id.


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harmful activities such as launching malicious or fraudulent Google Ad campaigns

and sending phishing emails to Google users.

      73.    Each year, Google spends millions of dollars protecting its Ads platform

and in protecting Google users. Proxy services like AWMProxy.net and Abm.net,

which blatantly and publicly advertise and instruct how to create fraudulent Google

accounts, take up significant Google resources to counter.

                  Cryptojacking and Other Criminal Schemes

      74.    “Cryptojacking” involves secretly exploiting the computing and

processing power of infected devices to generate, or “mine,” cryptocurrency.

      75.    The Glupteba Enterprise uses the collective computing power of infected

devices to “mine” cryptocurrency for the benefit of the Enterprise.

      76.    The Enterprise’s hijacking of infected devices for this purpose results in

harm to the owners of the infected devices, who are generally unaware that their

device has been co-opted for this purpose. This harm includes the impairment of the

device’s computing and processing power to perform tasks at the direction of the true

owner, and also the cost of the electricity that is consumed by the mining activity.

      77.    In addition, because the Enterprise is capable of deploying any type of

malware to infected devices, the power of the Glupteba botnet may be harnessed, at

any time, to conduct other cybercrimes. For example, it could be used to execute a

powerful DDoS attack, which would flood a legitimate business’s website with

requests for the purpose of rendering it inoperable. Or, it could be used to conduct

ransomware attacks on legitimate businesses of all sizes. In a ransomware attack,



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the ransomware encrypts the computer system’s files, rendering these files and the

systems that rely on them unusable, and the victim is extorted to pay money in order

for the malicious actors who deployed the ransomware to decrypt the files and restore

access.

VI.   The Enterprise’s Use of Corporate Entities

      78.      Through our investigation of the criminal activity of the Enterprise, we

found that the Enterprise supported itself with several corporate entities:

      79.      Prestige-Media LLC (“Prestige-Media”) is a Delaware limited-liability

company used to support Trafspin.com’s and Push.farm’s operations. Prestige-Media

is listed as the U.S. entity on Trafspin.com, as shown below.22 The address provided

for Prestige-Media is 8 The Green, Suite A, Dover, Delaware 19901, which is the same

address as its registered agent, A Registered Agent, Inc.23 That address is also used

by Abm.net, and AWMProxy.net. Prestige-Media owns QIP.ru, which claims to be

behind the website Extracard.net.24




22 See Exhibit 11, which is a true and correct copy of the webpage

https://trafspin.com/contacts as archived by the WayBack Machine on December 5,
2020.
23 See Exhibit 12, which is a true and correct copy of the certificate of incorporation

for Prestige-Media LLC.
24 See Exhibit 13, which is a true and correct copy of a certified translation of the

webpage https://career.habr.com/companies/qip as of November 14, 2021.

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      80.     Investavto LLC is a Russian limited-liability company based in

Moscow that supports Trafspin.com’s and Push.farm’s operations in Russia and

appears to be supported by Prestige-Media LLC in the United States. Investavto was

registered on May 26, 2016, and its legal address is 123112, Moscow, Presnenskaya

Embankment 12, Office 5.25 Investavto LLC is listed as the Russian corporate entity

on the website Trafspin.com.       Below is a true and correct excerpt from the

Trafspin.com website.26




25 See Exhibit 14, which is a true and correct copy of a certified translation of an

extract for Investavto LLC’s from Russia’s Uniform State Register of Legal Entities
as of November 3, 2021.
26 See Exhibit 11.


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      81.    Valtron LLC is a Russian limited-liability company based in Moscow

that appears to be used to support the Glupteba Enterprise. Valtron LLC was

incorporated on August 23, 2019.        Its legal address is listed as Presnenskaya

Embankment 12 (Federation Tower),27 which is also associated with Investavto LLC

and Trafspin.com.     Recent Valtron job postings state that Valtron’s website is




27 See Exhibit 15, which is a true and correct copy of a certified translation of an

extract for Valtron LLC’s from Russia’s Uniform State Register of Legal Entities as
of November 3, 2021.

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“Trafspin.com”.28 Notably, the job postings include requirements that the candidates

have experience with Google and other technology-company advertising.29

      82.    An archived website indicates that Valtron LLC operated a website

called “Voltronwork.com.”30 For example, a “copyright” stamp at the bottom of

Voltronwork.com was attributed to Valtron LLC.31 And Valtron was listed as the

contact for Voltronwork.com on its website.32

      83.    Voltronwork.com,      which    now    appears     to   be   operating    as

“Undefined.team,”33 recruits developers to support the Enterprise’s websites,

transactions, and overall operation.       While Voltronwork.com’s website is not

currently live, an internet archive version indicates it marketed itself as a advertising

and software development company.34




28 See, for example, Exhibit 16, which is a true and correct copy of a certified

translation of a job posting for an Affiliate Manager, accessed on November 14,
2021, on employmentcenter.ru. The posting states that the applicant must be
experienced with Google AdWords and Google Analytics.
29 See, for example, Exhibit 17, which is a true and correct copy of a certified

translation of a job posting for an iOS Developer, accessed on November 14, 2021,
on employment-services.ru. The posting states that the applicant must be
experienced with developing simple mobile applications for advertising with Google
and other technology companies.
30 See Exhibit 18, which is a true and correct copy of a certified translation of the

webpage https://voltronwork.com as archived by the WayBack Machine on July 26,
2021.
31 See id.
32 See id.
33 See Exhibit 19, which is a true and correct copy of a certified translation of the

webpage https://undefined.team as archived by the WayBack Machine on June 17,
2021.
34 Id.


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      84.    Voltronwork.com used Google advertisements to post job openings for

the websites effectuating the above criminal schemes.35               Specifically, job

advertisements for Voltronwork.com linked to Trafspin.com, and the registered

companies behind Trafspin.com were Prestige-Media and Investavto, which, as

explained infra at paragraphs 78 to 80, support various criminal schemes.36

Additionally, a September 2021 job posting by Undefined.team for an HTML Coder

stated that Extracard.net and Abm.net were projects of the “large IT team

UNDEFINED.TEAM.”37          And multiple reviews of Voltronwork.com found on

Russian-language employment review sites tie together Voltronwork.com, Dont.farm,

and how the businesses are involved in stealing user accounts.38

      85.    Voltronwork.com is responsible for the development of AWMProxy.net,

Abm.net, Dont.farm, Trafspin.com (Push.farm), and Extracard.net. Examination of

Glupteba code revealed that the URL of a subdomain of Voltronwork.com,

git.voltronwork.com, was inadvertently left visible in the malware’s code, of a

September 2020 variant of the Glupteba malware proxy module. It is believed this

was inadvertent as it directly references the Enterprise’s entity, rather than pointing


35 See, for example, Exhibit 20, which is a true and correct copy of a certified

translation of a screenshot of a job posting for a Technical Director, posted on
November 2, 2019. The posting lists the website as Trafspin.com and the human
resources contact email as “nana@voltronwork.com.”
36 Id.
37 See, for example, Exhibit 21, which is a true and correct copy of a certified

translation of a job posting for a HTML Coder, accessed on November 3, 2021, on
moskva.jobfilter.ru.
38 See, for example, Exhibits 22 and 23, which are true and correct copies of certified

translations of reviews of Voltronwork.com on the websites ne.orabote.net, and
detected-job.ru, respectively.

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to an anonymous domain that acted as a proxy, which was a technique they utilized

throughout their code. Moreover, in 2020, git.voltronwork.com shared the same

server (5.188.184.37) as Gitlamp.com, which has been observed in other Glupteba

binary files.39 Additionally, an IP address once connected to vpn.voltronwork.com,

was the Terms of Service IP for Google email accounts that contained within their

addresses    the   words   “voltron”,   “voltronwork”,   “valtron”,   “awm-proxy”   and

“card.farm.” That same IP address also was used to log into Google accounts from

domains associated with Dont.farm, AWMProxy.net, Voltronwork.com, and

Undefined.team. Furthermore, a job listing for a technical director position with

Valtron, shows the recruiter contact information with an email on the

@voltronwork.com domain, listing their website as Trafspin.com and as having a

physical address at the Federation Tower in Moscow, which is the same address used

by Investavto and Valtron.

VII.   Glupteba Enterprise: Individuals

       86.   We identified two individuals who control or participate in the Glupteba

Enterprise’s criminal schemes:

       87.   Dmitry Starovikov is directly tied to a former Glupteba botnet C2

server. Based on its investigation, Google determined that a server with the IP

address 82.204.203.174 was a C2 server used by the Glupteba Enterprise specifically

for directing the deployment of proxies onto infected machines. Google’s investigation




39 5.188.184.37, VirusTotal (accessed November 30, 2021),
https://www.virustotal.com/gui/ip-address/5.188.184.37/relations.

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also revealed that when Dmitry Starovikov signed up for a Google account and

executed Google’s “Terms of Service,” he did so from the same IP address,

82.204.203.174.

      88.    In addition, Dmitry Starovikov has an email account under the

Voltronwork.com domain, and acts as an administrator for the Voltronwork.com

Google Workspace account.      Additionally, the secondary email address for the

Workspace Voltronwork.com account, is an email containing Dmitry’s name under

the Trafspin.com domain. Dmitry Starovikov resides in Russia.

      89.    Alexander Filippov is directly tied to a former Glupteba botnet C2

Server in the same manner as Dmitry Starovikov. In addition, Filippov has email

accounts associated with the Google Workspace accounts related to Voltronwork.com,

Dont.farm, and Undefined.team. Moreover, Filippov’s Undefined.team account has

a recovery email address that has a billing name of Alexander Filippov and lists the

Federation Tower as the billing address, which is used by many other connected

entities in the Enterprise, as discussed above.

VIII. The Botnet Has Inflicted Serious Harm On Internet Users

      90.    TAG estimates that the Glupteba botnet comprises 1 million or more

infected devices. Each of these devices is vulnerable to illegal access, use and theft

of sensitive information, including financial account information, and even the

contents of personal emails.

      91.    This past year, TAG has been collaborating with security teams across

Google to disrupt Glupteba malware activity involving Google services. Google has



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terminated approximately 63 million Google Docs, 1,183 Google Accounts, 909 Cloud

Projects, and 870 Google Ads accounts associated with the distribution or use of

Glupteba malware. Google provided approximately 3.5 million Google Safe Browsing

warnings, thereby helping to protect approximately 2 million users from interacting

with known Glupteba malware domains hosted on the web.

      92.   Google analyzed a sample of logs from its public DNS resolver to assess

the impact of the Glupteba botnet on Google users in New York City. Extrapolating

from that sample, Google conservatively estimates that thousands of infected devices

in New York City have connected to Glupteba domains through the Google DNS (and

many more may have connected through DNS operated by entities other than

Google).

      93.   The Glupteba Enterprise also threatens Google and the safety and

security of Google’s products, including Gmail, YouTube, and AdWords.           The

Enterprise has, for example, fraudulently purchased ad sales from Google in

connection with the Credit Card Fraud scheme.

      94.   The Glupteba Enterprise threatens both the actual security of Google’s

systems and Google’s reputation for security. The Glupteba botnet is used both to

steal Gmail credentials and to send emails from the user’s account to further spread

malware. The botnet also steals data from Google’s Chrome internet browsers. And

as discussed above, users download the Glupteba malware through a fake website

deceiving users into believing they are downloading a video from Google’s YouTube




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video sharing platform. These actions cause harm to Google users, and impair Google

users’ confidence and trust in Google, its services, and its platforms.

       95.      TAG personnel have spent more than 2,000 hours investigating the

Glupteba botnet and seeking to protect Google and its users from its misconduct.

These efforts by TAG have cost Google substantial amounts of money, far in excess of

$100,000. The personnel of several other Google teams also have been involved in

investigating and deterring the Glupteba malware, further increasing the harm and

expense incurred by Google.

       96.      Beyond Google and Google users, the continued proliferation of malware

on Google platforms is a threat to the internet ecosystem as a whole.            Court

intervention requested herein is a necessary step to deter the prevention of further

abuses.

IX.    Disrupting the Glupteba Botnet

       97.      Due to the Glupteba botnet’s sophisticated architecture and the actions

that its organizers have taken to maintain the botnet (including the use of blockchain

technology to prevent disruption), I believe that if the operators of the botnet were

provided advance notice that the domains and IP addresses being used by the botnet

would be disabled, the operators would take measures to ensure the botnet’s survival

and frustrate any disruption efforts.

       98.      Based on my experience in investigating and disrupting similar threats,

I believe that the most effective way to suspend the injury caused by the Glupteba

botnet is to:



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         a.   Direct the relevant hosting companies to disable the IP addresses of the

              Enterprise’s servers;

         b.   Direct the relevant DNS providers to suspend all known domain names

              and prevent them from being transferred or changed;

         c.   Direct the relevant domain registrars to suspend all known domain

              names and prevent them from being transferred, changed, or resold;

         d.   Render inaccessible any content stored on its C2 servers;

         e.   Direct the hosting companies and registrars to suspend all services to

              the botnet operators, not to warn or aid the operators, and not to enable

              the circumvention of the order;

         f.   Block any efforts by the operators to purchase or lease additional

              servers;

         g.   Direct the Defendants to suspend transactions to the known Bitcoin

              blockchains that act as a failsafe for the Glupteba botnet;

      99.     I believe that the only way to effectively disrupt the botnet and to

address the harm caused to Google, its users, and the public, is to take the steps

described in the Proposed Ex Parte Temporary Restraining Order and Order to Show

Cause For a Preliminary Injunction. This relief will imperil the botnet’s monetization

and operational control and interrupt its harmful activities.

      100.    It is crucial that the disruption steps outlined above and in the proposed

temporary restraining order be carefully coordinated.           In particular, that the

malicious domains and IP addresses are directed by the Court to be turned off



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immediately upon receipt of any order. Any delay could warn the operators of this

action and result in immediate relocation of the C2 servers or other botnet

infrastructure. In addition, because the Glupteba botnet’s C2 structure is diffuse and

globally distributed, Google is coordinating relief with other private parties,

authorities, and in other jurisdictions. The proposed temporary restraining order is

designed to enable coordinated efforts that will maximize the impact of the disruption

efforts.




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      In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that

the foregoing is true and correct. Executed on November 29, 2021, in Sunnyvale,

California.

                                        --d�
                                      Shane Huntley




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